Case 2:21-cv-11336-NGE-APP ECF No. 36, PageID.566 Filed 01/03/22 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN




Ron Mercer, et al.,

                                   Plaintiff(s),
v.                                                     Case No. 2:21−cv−11336−NGE−APP
                                                       Hon. Nancy G. Edmunds
Edward Rose & Sons, Inc. d/b/a
The Crossings Apartments, et
al.,

                                   Defendant(s),



                                NOTICE OF MOTION HEARING

   You are hereby notified to appear before Magistrate Judge Anthony P. Patti at the United
States District Court, Theodore Levin U.S. Courthouse, 231 W. Lafayette Boulevard, Detroit,
Michigan. Please report to Room 672. The following motion(s) are scheduled for hearing:

                Motion to Compel − #34

      • RESOLVED/UNRESOLVED ISSUES DEADLINE: January 24, 2022

      • MOTION HEARING: January 28, 2022 at 03:00 PM

    ADDITIONAL INFORMATION: The parties must confer for at least 90 minutes in person
or remotely by video and must so certify to the Court in their Joint Statement, per Judge Patti's
Practice Guidelines for Discovery Motions. Agreements to narrow or resolve the issues in this
motion should be reflected in either the Joint Statement or in a stipulated order.



                                      Certificate of Service

   I hereby certify that this Notice was electronically filed, and the parties and/or counsel of
record were served.

                                               By: s/M Williams
                                                   Case Manager

Dated: January 3, 2022
